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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

RANDY WILMOTH MEETZE                                                                     PLAINTIFF

v.                                                                               No. 4:20CV181-RP

CMCF MEDICAL DEPT, ET AL.                                                            DEFENDANTS


                         ORDER TRANSFERRING CASE TO THE
                       UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF MISSISSIPPI

       This matter comes before the court, sua sponte, for consideration of the transfer of this

cause. Randy Wilmoth Meetze, a pro se prisoner, has submitted a complaint alleging

unconstitutional conditions of confinement under 42 U.S.C. § 1983. The events giving rise to

the instant complaint occurred at the Central Mississippi Correctional Facility in Pearl,

Mississippi. This court does not have the power to address the issues in the instant complaint

because the Central Mississippi Correctional Facility lies outside its territorial jurisdiction. The

federal court which can exercise territorial jurisdiction in this case is the United States District

Court for the Southern District of Mississippi, and, in the interest of justice and judicial

economy, it is ORDERED:

       1) That this case will be transferred to the United States District Court for the Southern

District of Mississippi;

       2) That the Clerk of Court is directed to transfer the complaint and the entire record to the

United States District Court for the Southern District of Mississippi; and

       3) This case is CLOSED.

       SO ORDERED, this, the 12th day of January, 2021.

                                               /s/ Roy Percy
                                               UNITED STATES MAGISTRATE JUDGE
